










Opinion issued July 1, 2004











In The
Court of Appeals
For The
First District of Texas




NO. 01–03–01262–CV




DR. GEORGE M. FISHER, Appellant

V.

KIRK COVERSTONE, Appellee




On Appeal from the 80th District Court
Harris County, Texas
Trial Court Cause No. 9950679




MEMORANDUM OPINIONAppellant Dr. George M. Fisher has neither established indigence, nor paid or
made arrangements to pay the clerk’s fee for preparing the clerk’s record.  See Tex.
R. App. P. 20.1 (listing requirements for establishing indigence), 37.3(b) (allowing
dismissal of appeal if no clerk’s record filed due to appellant’s fault).  After being
notified that this appeal was subject to dismissal, appellant Dr. George M. Fisher did
not adequately respond.  See Tex. R. App. P. 42.3(c) (allowing involuntary dismissal
of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to pay or make
arrangements to pay the clerk’s fee.  All pending motions are denied.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Taft and Alcala.


